Case 1:16-cv-00023-LEK-KSC Document 170 Filed 07/31/18 Page 1 of 5        PageID #:
                                   2910
                                 MINUTES



 CASE NUMBER:         CV 16-00023LEK-KSC
 CASE NAME:           Rudy Akoni Galima, et al. vs. Association of Apartment
                      Owners of Palm Court, et al.
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


      JUDGE:    Leslie E. Kobayashi        REPORTER:

      DATE:     07/31/2018                 TIME:


COURT ACTION: EO:
COURT’S RULINGS ON THE PARTIES’ MOTIONS FOR SUMMARY JUDGMENT

     Before the Court are: Plaintiffs Rudy Akoni Galima and
Roxana Beatriz Galima’s (“Plaintiffs”) Motion for Partial Summary
Judgment on Counts I and II (Wrongful Foreclosure and Violation
of the Fair Debt Collection Practices Act) (“Plaintiffs’
Motion”), filed on January 19, 2018; the Motion for Summary
Judgment filed by Defendant Association of Apartment Owners of
Palm Court, by and through its Board of Directors (“AOAO” and
“AOAO Motion”), on January 24, 2018; and Defendant Bryson Chow’s
(“Chow”) Motion for Summary Judgment Regarding the Fair Debt
Collection Practices Claim in Count II of the Third Amended
Complaint [Dkt. 88] (“Chow Motion”), also filed on January 24,
2018. [Dkt. nos. 115, 117, 118.] These matters came on for
hearing on June 4, 2018. The Court hereby informs the parties of
its rulings on the motions.

I.    Continuance Requests

     The AOAO Motion includes a request for a Fed. R. Civ.
P. 56(d) continuance. [Mem. in Opp. to Pltfs.’ Motion at 25-27.]
The AOAO asserts a continuance is warranted based on a lack of
“exhaustive discovery” because the AOAO anticipated that the
motion to stay would be granted. [AOAO’s Response to Pltfs.’
Concise Statement Re: Pltfs.’ Motion (“AOAO Responsive CSOF”),
filed 5/14/18 (dkt. no. 146), Decl. of David R. Major (“Major
Responsive Decl.”) at ¶ 12.] The Rule 56(d) request is DENIED
because neither the Major Responsive Declaration nor any other
Case 1:16-cv-00023-LEK-KSC Document 170 Filed 07/31/18 Page 2 of 5 PageID #:
                                   2911
 material the AOAO submitted in connection with Plaintiffs’ Motion
 satisfy the requirements for a Rule 56(d) continuance. See
 Noetzel v. Haw. Med. Serv. Ass’n, CIVIL NO. 15-00310 SOM-KJM,
 2017 WL 690531, at *1 (D. Hawai`i Feb. 21, 2017) (describing
 requirements for a Rule 56(d) continuance).

     Chow suggests that Plaintiffs presentation of certain
evidence could be construed as a request for a Rule 56(d)
continuance. [Reply in supp. of Chow Motion, filed 5/21/18 (dkt.
no. 152), at 12-14.] This Court declines to construe Plaintiffs’
opposition materials as requesting a Rule 56(d) continuance
because Plaintiffs neither expressly requested a continuance nor
attempted to address the Rule 56(d) requirements. Further,
specifically as to Count II (the only remaining claim against
Chow), the fact that Plaintiffs have themselves moved for summary
judgment shows they do not believe a continuance is necessary for
them to respond to the Chow Motion.

II.   Plaintiffs’ Claims

      A.    Count I - Wrongful Foreclosure

     Plaintiffs’ Motion is granted insofar as this Court
concludes Plaintiffs have established the elements of their
wrongful foreclosure claim. See Galima v. Ass’n of Apartment
Owners of Palm Court ex rel. Bd. of Dirs., CIVIL 16-00023
LEK-KSC, 2017 WL 1240181, at *9 (D. Hawai`i Mar. 30, 2017)
(“3/30/17 Order”) (“A plaintiff may bring a wrongful foreclosure
claim where: (1) the foreclosure process failed to comply with
Haw. Rev. Stat. Chapter 667; and (2) the foreclosing entity did
not have the right to foreclose.” (brackets, citations, and
internal quotation marks omitted)). The legal rulings in this
Court’s 3/30/17 Order also apply on summary judgment. Further,
this Court concludes, as a matter of law, that the AOAO’s
governing documents neither triggered the application of Haw.
Rev. Stat. Chapter 667, Part I (2010) nor gave the AOAO a
contractual right to conduct a nonjudicial foreclosure on its
lien against Plaintiffs’ unit.

     Plaintiffs’ Motion is denied to the extend it seeks summary
judgment in their favor as to liability on Count I. Liability
cannot be determined at this stage because there are genuine
issues of material fact regarding the AOAO’s defenses, i.e. the
independent contractor defense and the business judgment rule.
See Fed. R. Civ. P. 56(a) (stating a party is entitled to summary
judgment “if the movant shows that there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a
matter of law”).

     Plaintiffs’ Motion is therefore granted in part and denied
in part as to Count I, and the AOAO Motion is Motion is denied as
to Count I.

      B.    Count II - Fair Debt Collection Practices Act Claim
Case 1:16-cv-00023-LEK-KSC Document 170 Filed 07/31/18 Page 3 of 5 PageID #:
                                   2912
       This Court finds there are genuine issues of material fact
 as to Plaintiffs’ Fair Debt Collection Practices Act (“FDCPA”)
 claim, including, inter alia: whether the statute of limitations
 on the claim was tolled; see generally, 3/30/17 Order, 2017 WL
 1240181, at *13 (discussing tolling of FDCPA claims); and whether
 Plaintiffs’ obligation to pay their association assessments arose
 out of a transaction that was “primarily for personal, family, or
 household purposes,” see 15 U.S.C. § 1692a(5). In the
 determination of the primary purpose of the transaction, the
 trier of fact must consider not only the period when Plaintiffs
 were delinquent in their association assessments, but also the
 period when they incurred their original obligation to pay those
 assessments, i.e. their purchase of their unit. See Thies v. Law
 Offices of William A. Wyman, 969 F. Supp. 604, 607 (S.D. Cal.
 1997) (“Plaintiffs are obligated to pay their homeowner fees
 because of a covenant running with their property. Because no
 offer or extension of credit is required, the Court finds that a
 transaction, for the purposes of the FDCPA, arises out of
 Plaintiffs’ obligation to pay dues for the services of the
 Association.”).

     In addition, this Court also finds there are genuine issues
of material fact as to Chow’s bona fide error defense, which
arises from 15 U.S.C. § 1692k(c).

     Plaintiffs’ Motion is therefore denied as to Count II, and
the Chow Motion is also denied.

      C.    Count III (Unfair or Deceptive Acts or Practices)

     The Court finds there are genuine issues of material fact as
to Plaintiffs’ unfair or deceptive acts or practices (“UDAP”)
claim, including, inter alia: whether the statute of limitations
on the claim was tolled; see generally, 3/30/17 Order, 2017 WL
1240181, at *16 (discussing tolling of UDAP claims); and whether
Plaintiffs’ “primarily for personal, family, or household
purposes, . . . commit[ted] money . . . in a personal
investment,” see Haw. Rev. Stat. § 480-1. As with Plaintiffs’
FDCPA claim, Plaintiffs’ purchase of their unit, not merely their
use of the unit at the time of their delinquency, is relevant.
See Flores v. Rawlings Co., 117 Hawai`i 153, 164, 177 P.3d 341,
352 (2008) (“in the context of consumer debt, the determination
of whether the individual seeking suit is a ‘consumer’ should
rest on whether the underlying transaction which gave rise to the
obligation was for a good or service that is ‘primarily for
personal, family, or household purposes,’” (quoting HRS § 480-
1)). The AOAO Motion is therefore denied as to Count III.

      D.    Count IV (Fraud)

     “The elements of a fraud claim are: ‘(1) false
representations were made by defendants, (2) with knowledge of
their falsity (or without knowledge of their truth or falsity),
(3) in contemplation of plaintiff’s reliance upon these false
representations, and (4) plaintiff did rely upon them.’” 3/30/17
Case 1:16-cv-00023-LEK-KSC Document 170 Filed 07/31/18 Page 4 of 5 PageID #:
                                   2913
 Order, 2017 WL 1240181, at *17 (quoting Shoppe v. Gucci Am.,
 Inc., 94 Hawai`i 368, 386, 14 P.3d 1049, 1067 (2000))). Further,
 “the alleged false representation must relate to a past or
 existing material fact.” Shoppe, 94 Hawai`i at 386, 14 P.3d at
 1067 (emphasis added). Plaintiffs have only shown that the AOAO,
 through its counsel, made misrepresentations about the law, i.e.
 that it was authorized to use Chapter 667, Part I (2010).
 Plaintiffs have not shown that the AOAO made false
 representations of fact. Further, even if the AOAO’s
 misrepresentations about the law could support a fraud claim,
 Plaintiffs have failed to show the AOAO made those
 representations with knowledge they were false or without knowing
 whether they were true or false.

     The AOAO is therefore entitled to judgment as a matter of
law as to Plaintiffs’ fraud claim, and the AOAO Motion is granted
as to Count IV.

      E.    Count V - Intentional Infliction of Emotional Distress

     The Court finds there are genuine issues of material fact as
to Plaintiffs’ intentional infliction of emotional distress
(“IIED”) claim, including, inter alia: whether the statute of
limitations on the claim was tolled; see generally, 3/30/17
Order, 2017 WL 1240181, at *19 (noting the tolling analysis of
Plaintiffs’ FDCPA and UDAP claims applies to their IIED claim);
and whether the AOAO’s actions were sufficiently outrageous to
support an IIED claim, see Young v. Allstate Ins. Co., 119
Hawai`i 403, 429, 198 P.3d 666, 692 (2008) (discussing the
elements of an IIED claim). The AOAO Motion is therefore denied
as to Count V.

III. Punitive Damages

     Finally, the AOAO Motion seeks a ruling that Plaintiffs
cannot recover punitive damages. The AOAO Motion is denied as           to
this request because there are genuine issues of material fact          as
to whether the AOAO’s conduct warrants punitive damages. See
Isaac v. Daniels, CIVIL NO. 16-00507 DKW-RLP, 2018 WL 1903606,          at
*8 (D. Hawai`i Mar. 30, 2018) (discussing standards applicable          to
requests for punitive damages under Hawai`i law), report and
recommendation adopted, 2018 WL 1902543 (Apr. 20, 2018).

IV.   Summary

     To recap, summary judgment is granted in favor of the AOAO
as to their fraud claim (Count IV) and in favor of Plaintiffs as
to the elements of their wrongful foreclosure claim (Count I).
The parties’ motions for summary judgment are denied in all other
respects. This case will proceed to trial on: 1) the AOAO’s
defenses as to Count I; 2) if Plaintiffs prevail on the AOAO’s
asserted defenses to Count I, Plaintiffs’ damages arising from
the wrongful foreclosure; and 3) all issues related to Counts II,
III, and IV.
Case 1:16-cv-00023-LEK-KSC Document 170 Filed 07/31/18 Page 5 of 5 PageID #:
                                   2914
       A written order will follow that will supersede these
 rulings. Any party intending to file a motion for
 reconsideration must wait until the written order is filed to do
 so.

      IT IS SO ORDERED.




Submitted by: Toni Fujinaga, Courtroom Manager.
